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    8                                UNITED STATES DISTRICT COURT

    9                              CENTRAL DISTRICT OF CALIFORNIA

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   11 FEDERAL TRADE COMMISSION,                            Case No. 2:18-cv-09573-JFW (JPRx)

   12                         Plaintiff,                   ORDER GRANTING RECEIVER’S
                                                           MOTION TO EXTEND COMPLETION
   13          v.                                          DEADLINE FOR RECEIVER

   14 APEX CAPITAL GROUP, LLC, et al.,
   15                         Defendants.

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               The Court having reviewed and considered the Receiver’s Motion to Extend Completion
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        Deadline, Memorandum of Points and Authorities, and Defendants’ opposition, if any, and good
   19
        cause shown,
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               IT IS THEREFORE ORDERED that:
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               Section XIII of the Stipulated Order for Permanent Injunction and Monetary Judgment
   22
        (ECF No. 120) shall be modified to provide that the deadline for the Receiver to complete his
   23
        duties shall be March 11, 2021.
   24
               IT IS SO ORDERED.
   25
        DATED this 9th day of March, 2020.
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   27                                                       Hon. John F. Walter
                                                            United States District Judge
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                                                  Case No. 2:18-cv-09573-JFW (JPRx)
             ORDER GRANTING RECEIVER’S MOTION TO EXTEND COMPLETION DEADLINE
